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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

BESSIE N. NICHOLS,                           )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       Civil Action No.:
                                             )       2:08-cv-02226-RRA
EQUIFAX INFORMATION                          )
SERVICES, INC.; EXPERIAN                     )
INFORMATION SOLUTIONS, INC.;                 )
TRANS UNION, LLC,                            )
                                             )
       Defendants.                           )

                                   ORDER OF DISMISSAL

        A notice of voluntary dismissal, signed by the plaintiff, having been filed in this action,
and no defendant having answered or filed a motion for summary judgment, it is hereby
ORDERED, ADJUDGED, and DECREED that, pursuant to Fed. R. Civ. P. 41(a)(1)(i), this
case is DISMISSED, without prejudice, each party to bear their own costs.

       DONE and ORDERED this 16th day of December, 2008.



                                      Robert R. Armstrong, Jr.
                                      United States Magistrate Judge
